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AO 455 (Rev. 01/09) Waiver of an Indictment

UNITED STATES DISTRICT COURT

for the
District of Columbia [=]
United States of America )
v. ) Case No. 21-cr-4 0
Caleb Berry )
i ne Se Mt )
Defendant )

WAIVER OF AN INDICTMENT

| understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. | was advised in open court of my rights and the nature of the proposed charges against me.

After receiving this advice, | waive my right to prosecution by indictment and consent to prosecution by
information.

Date: Sf fst et UY

 

Defendant's signature

 

eee attorney

Daniel Fernand

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Judge Amit P. Mehta
Judge's printed name and title

 
